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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA


JASMINE-YING LEE

                         Plaintiff,
                                                               CIVIL ACTION
       v.                                                      NO. 18-406

UNIVERSITY OF PENNSYLVANIA
HEALTH SYSTEM,

                         Defendant.


                                            ORDER

       AND NOW, this 14th day of June 2018, it is ORDERED that a PRETRIAL

CONFERENCE shall be held on July 11, 2018, at 4:00 p.m. in Room 13614, United States

Courthouse, 601 Market Street, Philadelphia, Pennsylvania.

       IT IS FURTHER ORDERED as follows:

       1.      The parties shall make the required initial disclosures under Fed. R. Civ. P. 26(a)

within 14 days of the date of this Order.

       2.      The parties shall commence discovery immediately because it is expected that the

parties shall have conducted substantial discovery before the Rule 16 conference.

       3.      Counsel shall consult and shall complete and file with the Clerk the required

Report of the Rule 26(f) Meeting incorporating all the information described in Judge Slomsky’s

form Report on or before July 9, 2018.

       4.    Counsel shall follow Judge Slomsky’s Policies and Procedures which can be
found at www.paed.uscourts.gov.

                                                    BY THE COURT:


                                                    s/ Joel H. Slomsky, J.
                                                    JOEL H. SLOMSKY, J.
